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    Defendants'MotionforSummaryJudgment(Dkt.167)
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 1                                                           TheHonorableJamesL.Robart
 2                            UNITEDSTATESDISTRICTCOURT
 3                         WES  TERNDISTRICTOFWASHINGTON
                                        ATTACOMA
 4 NWDCRESISTANCEandCOALITIONOF CASENO.3:18-cv-05860-RBL
 5 ANTI-RACISTWHITES,                             PLAI  NTI FFNWDC
 6                         Plainti
                                 ff
                                  s,              RES  ISTANCE’ SRESPONSES
                                                  ANDOBJECTIONSTO
 7         v.                                     DEFENDANTS
                                                  REQUES    TSFOR’THIRDSETOF
   IMMI
 8 ENF   GRATION&MATTHEW
        ORCEMENT,      CUSTOMST.ALBENCE, DOCUMENTSPRODUCTIONOF
   in hiso ffi
             cialcapaci
                      tyas ActingDirec
                                     toro f       OF   I         ANDTHI
                                                       NTERROGATORI      RDSET
                                                                        ES
 9 ImmigrationandCustomsEnforcement;and
10 KEVI  NMCALEENAN,inhisofficialcapa
   asActingSecretaryofHomelandSecurity,city
11                         Defendants.
12
13         PursuanttoFederalRulesofCivilProcedure26,33,and34,PlaintiffNWDC
14 RESISTANCE(“LaResistencia”),byandthroughitsundersignedattorneys,DavisWright
15
16 TremaineLLP,herebyrespondstotheThirdSetofRequestsforProductionandtheThirdSetof
17 Interrogatories(the“Requests”)ofDefendantsImmigrationandCustomsEnforcement,Matthew
18 T.Albence,andKevinMcAleenanasfollows:
19                                GENERALOBJECTIONS
20         1. LaResistenciaobjectstotheRequeststotheextenttheyortheDefinitionsor
21 InstructionsseektoimposeobligationsbeyondthescopeoftheFederalRulesofCivilProcedure
22
23 ortheLocalCivilRules,orimposeobligationsonLaResistencianotimposedbythoserules.
24         2. LaResistenciareservestherighttouseandtorelyuponfactscontainedin
25 documentsthathavebeenorwillbeproducedinthiscase,andthetestimonyofwitnessesinthis
26 casewithoutbeinglimitedbyitsresponsestotheseInterrogatories.
27
    PLAINTIFF’SRESPONSES&OBJECTIONSTODEFENDANTS’THIRD           DavisWrightTremaineLLP
    DI SCOVERYREQUESTS
    3:18-cv-05860-1
                                                                          LAW OFFICES
                                                                    920FifthAvenue,Suite3300
    4880-4169-5870v.10201359-000001                                   Seattle,WA 98104-1610
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 1         3. LaResistenciaobjectstotheRequests,andtoeachandeveryitemcontained
 2 therein,totheextentthattheyattemptorpurporttorequiredisclosureofprivilegedor
 3 confidentialcommunicationsbetweenattorneyandclient,disclosureofdocumentsor
 4 informationprotectedbythework-productdoctrine,ordisclosureofdocumentsinvolvedinany
 5 otherapplicableprivilege.If,duetothevolumeofadocumentinvolvedoranyotherreason,a
 6 productionbyLaResistenciaincludesanydocumentthatisotherwiseprivilegedorprotected
 7
 8 fromdiscovery,theproductionofsuchdocumentisinadvertentandunintentional,andLa
 9 Resistenciadoesnotintendtherebytowaivesaidprivilegeorprotection.LaResistenciaobjects
10 tolistingprivilegeddocumentscreatedaftertheanticipationoflitigationonaprivilegelog,
11 includingbecauseitisundulyburdensomeandinvadesprivilegedcommunicationswithoutside
12 counselmadeforpurposesoflitigation.
13         4. AresponsethatLaResistenciawillproducedocumentsresponsivetoany
14 individualRequestdoesnotimplythatLaResistenciahaslocatedanyresponsivedocuments,but
15
16 onlythatLaResistenciawillproduceallresponsive,non-privilegeddocumentsthatitlocates
17 throughgoodfaitheffortsandreasonablediligence.
18         5. LaResistenciaobjectstotheRequeststotheextentthattheyarenotlimitedbyan
19 appropriatetimeperiod,ortotheextentthattheycouldbeconstruedtocoveratimeperiodthat
20 isnotrelevanttotheclaimsordefensesinthiscase.Unlessotherwisestated,LaResistencia’s
21 ResponseshereinapplytothetimeperiodfromJanuary1,2017tothepresent.
22         6. BecauseLaResistencia’sinvestigationisongoing,itreservestherighttocorrect,
23
24 amend,modify,orsupplementitsresponsestotheRequestsatanytimeinthefuture,as
25 warrantedbythecircumstances,andtoproduceevidenceattrialofsubsequentlydiscovered
26 facts.
27
    PLAINTIFF’SRESPONSES&OBJECTIONSTODEFENDANTS’THIRD            DavisWrightTremaineLLP
    DI SCOVERYREQUESTS
    3:18-cv-05860-2
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 1           SPECIFICRESPONSESANDOBJECTIONSTOINTERROGATORIES
 2          INTERROGATORYNO.10:DuringthedepositionofLaResistencia’s30(b)(6)
 3 deponent,thewitnesstestifiedthatshedeletedemails.Describethewitness’spracticeofdeleting
 4 emails,LaResistencia’spracticeofdeletingemails,andidentify(a)whetherLaResistencia
 5 reliedorisrelyingonanyofthedeletedemailsforanyofLaResistencia’sallegationsinthis
 6 litigationand(b)whetheranyofthedeletedemailswereresponsivetothediscoveryrequeststhe
 7 Defendantsservedinthislitigation.
 8          ANSWER:LaResistenciaobjectstoInterrogatoryNo.10totheextentthatitmisstates
 9 ormischaracterizesthedeponent’stestimonyandassumestheexistenceof“deletedemails.”
10          Subjecttoandwithoutwaivingtheseobjections,LaResistenciarespondsthatLa
11 Resistencia’semailcorrespondenceisgenerallyconductedbyitsmembersusingtheirpersonal
12 emailaccounts,andLaResistenciadoesnothaveofficialorestablishedpoliciesorpractices
13 regardingemaildocumentretention.Asanindividual,thedeponentalsodoesnothaveofficial
14 orestablishedpoliciesorpracticesregardingemaildocumentretention.Asstatedinthe
15 deposition,thedeponentpersonallyreceivesmanyemailsanddeletessomeofthoseemails
16 “everysooften.”However,LaResistenciaandthedeponenthavecompliedwiththeir
17 obligationstoretainpotentiallyrelevantdocumentsinreasonableanticipationofthislitigation.
18 ThisInterrogatoryappearstorefertotestimonyregardingaMarch2,2017CNNarticleand
19 listservemailsrelatedtothearrestanddetentionofDaniellaVargasinMarch2017.TheCNN
20 articlewaspublishedontheinternetandwasneverinthepossession,custody,orcontrolofLa
21 Resistenciaorthedeponent,butPlaintiffs’counselhasneverthelesslocatedthearticlereferredto
22 inthedepositionandproducedacopyofit.ExamplesoflistservemailsregardingDaniela
23 Vargasthatwerecollectedfromthedeponentandproducedinthislitigationinclude
24 Resistencia000742andResistencia000746.LaResistenciahasnoreasontobelievethatthereare
25 any“deletedemails”asreferredtobythisInterrogatory.LaResistenciathereforeisnotrelying
26 onanysuchemailsandcannotidentifywhetheranysuchemailswouldhavebeenresponsiveif
27 theyhadexisted.
    PLAINTIFF’SRESPONSES&OBJECTIONSTODEFENDANTS’THIRD               DavisWrightTremaineLLP
    DI SCOVERYREQUESTS
    3:18-cv-05860-3
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 1 SPECIFICRESPONSESANDOBJECTIONSTOREQUESTSFORPRODUCTIONOF
 2                                        DOCUMENTS
 3         REQUESTFORPRODUCTIONNO.32:ForanyindividualthatLaResistencia
 4 contendsreducedtheirparticipationduetotheallegedtargetingorselectiveenforcementbased
 5 onspeechasallegedbyPlaintiffsinthislitigation,produceallcommunicationsbetweenthat
 6 individualandLaResistencia,LaResistencia’sleaders,orLaResistencia’sorganizersthat
 7 reflectthatindividual’sparticipationordecisionnottoparticipate.Thisrequestincludes,butis
 8 notlimitedtoemails,voicemessages,textmessages,and/orsocialmediacommunications.
 9         ANSWER:LaResistenciaobjectstothisRequestasvagueandambiguous.La
10 Resistenciainterpretsthephrase,“anyindividualthatLaResistenciacontendsreducedtheir
11 participation”asreferringexclusivelytotheindividualsidentifiedinLaResistencia’sresponses
12 toDefendants’InterrogatoryNo.7.LaResistenciainterpretsthephrase,“thatreflectthat
13 individual’sparticipationordecisionnottoparticipate”torefertoanindividual’sdecisionto
14 participateornotparticipateinaneventorganizedbyLaResistencia.LaResistenciafurther
15 objectstothisRequesttotheextentthatitseeksdocumentsprotectedbytheattorney-client
16 privilege,workproductprivilege,commoninterestprivilege,jointdefenseprivilege,oranyother
17 applicableprivilege.LaResistenciafurtherobjectsthatthisRequestisduplicativeof,or
18 encompassedby,previousrequests,includingRequestNos.22,24,and25.
19         Subjecttoandwithoutwaivingtheseobjections,LaResistenciawillproduceresponsive,
20 non-privilegeddocumentstotheextentsuchdocumentsexistandareidentifiedthrougha
21 reasonableanddiligentsearch.
22         DATEDthis29thdayofSeptember,2023
23                                            DavisWrightTremaineLLP
24                                            AttorneysforPlaintiffs
25                                            /s/AmbikaKumar
                                              BruceE.H.Johnson,WSBA#7667
26                                            AmbikaKumar,WSBA#38237
                                              EmilyGoodell,WSBA#44349
27                                            VerónicaMurielCarrioni,WSBA#60777
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    DI SCOVERYREQUESTS
    3:18-cv-05860-4
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                                           TinaSalvato(ProHacVice)
 2                                         TrishaParikh(ProHacVice)
                                           JeanFundakowski(ProHacVice)
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                                           emilygoodell@dwt.com
 7                                         veronicamuriel@dwt.com
 8                                         chrisswift@dwt.com
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 9                                         trishaparikh@dwt.com
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10                                     JUSTFUTURESLAW
11                                     By/s/SejalZota
12                                         SejalZota,admittedprohacvice
13                                     By/s/DineshMcCoy
                                           DineshMcCoy,admittedprohacvice
14                                     By/s/DanielWerner
15                                         DanielWerner,admittedprohacvice
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                                                                                                g
19                                     AttorneysforPlaintiffs
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     DI SCOVERYREQUESTS
     3:18-cv-05860-5
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 1
 2                               CERTIFICATEOFSERVICE
 3       IherebydeclareunderpenaltyofperjuryunderthelawsoftheUnitedStatesthat,onthe
 4 datesetforthbelow,Icausedatrueandcorrectcopyoftheforegoingdocumenttobeservedvia
 5 U.SPostalServicefirstclassmailandelectronicmailtothefollowingcounsel:
 6       KatieD.Fairchild
         AnnalisaCravens
 7       JosephFonesca
         AssistantUnitedStatesAttorney
 8       UnitedStatesAttorney’sOffice
 9       700StewartStreet,Suite5220
         Seattle,Washington98101-1271
10       Ema  il:Katie.fairchild@usdoj.gov
         Email:Annalisa.Cravens@usdoj.gov
11       Email:JFonseca@usa.doj.gov
12
13       Datedthis29thdayofSeptember,2023.
14
15                                         /s/AmbikaKumar
                                           AmbikaKumar,WSBA#38237
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   PLAINTIFF’SRESPONSES&OBJECTIONSTODEFENDANTS’THIRD           DavisWrightTremaineLLP
   DI SCOVERYREQUESTS
   3:18-cv-05860-7
                                                                         LAW OFFICES
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